197 F.2d 118
    52-1 USTC  P 9335
    DUVEEN BROTHERS, Inc.v.COMMISSIONER OF INTERNAL REVENUE.
    No. 220, Docket 22268.
    United States Court of Appeals Second Circuit.
    Argued May 6, 1952.Decided May 21, 1952.
    
      Hugh Satterlee and Henderson Mathews, New York City, for petitioner.
      Ellis N. Slack, Acting Asst. Atty. Gen., Virginia H. Adams and I. Henry Kutz, Special Asst. to the Atty. Gen., for respondent.
      PER CURIAM.
    
    
      1
      The question presented is whether a loss incurred in the taxpayer's fiscal year 1945 from payment of a guaranty given in connection with sales in prior years of certain stock was fully deductible under section 23(f) of the Internal Revenue Code, 26 U.S.C.A. § 23(f) as the taxpayer contends, or only partially deductible as a capital loss under sections 23(g) and 117, as the Tax Court held, four judges dissenting.  The facts and the opposing arguments are stated in the opinions below, 17 T.C. 124, and need not be here repeated.  We see nothing to distinguish the case from this court's recent decisions in Commissioner of Internal Revenue v. Arrowsmith, 2 Cir., 193 F.2d 734, and Milliken v. C.I.R., 2 Cir., 195 F.2d 135.  On the authority of those cases the decision is affirmed.
    
    